              Case 2:20-cv-00622-BJR Document 23 Filed 09/14/20 Page 1 of 4




                                                                         Honorable Ricardo S. Martinez
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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8

 9   KUZI HSUE, DDS, PS,

10                                          Plaintiff,      No. 2:20-cv-00622-RSM

11          v.                                              STIPULATION AND ORDER
                                                            EXTENDING TIME TO RESPOND TO
12   TRAVELERS CASUALTY INSURANCE                           MOTION TO DISMISS
     COMPANY OF AMERICA,
13
                                          Defendant.
14

15
                                              STIPULATION
16
            The parties agree and stipulate as follows:
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            1.      Plaintiff agrees to file a response brief to Defendant’s pending Motion to Dismiss
18

19   no later than 14 days after the Judicial Panel on Multidistrict Litigation issues an Order on its

20   Order to Show Cause why the various cases filed against Travelers-related entities “should not

21   be related and transferred to a single district for consolidation or coordinated pretrial
22
     proceedings under 28 U.S.C. § 1407.” In re Travelers COVID-19 Bus. Interruption Prot. Ins.
23
     Litig., MDL No. 2965, Dkt. # 3.
24
            2.      Defendant agrees to file its reply brief no later than 14 days after Plaintiff files
25
     his response brief.
26


     STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO                    KELLER ROHRB ACK L.L .P.
     MOTION TO DISMISS - 1                                                    1201 Third Avenue, Suite 3200
                                                                                 Seattle, WA 98101-3052
     (2:20-CV-00622-RSM)                                                      TELEPHONE: (206) 623-1900
                                                                               FACSIMILE: (206) 623-3384
              Case 2:20-cv-00622-BJR Document 23 Filed 09/14/20 Page 2 of 4




            3.       The Motion to Dismiss, currently noted for October 2, shall be noted for
 1

 2   consideration on the date that Defendant files its reply brief.

 3                                                 ORDER

 4          IT IS SO ORDERED.
 5
     DATED this 14th day of September, 2020.
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                                                    RICARDO S. MARTINEZ
 9
                                                    CHIEF UNITED STATES DISTRICT JUDGE
10

11

12   Presented By:
13          DATED this 14th day of September, 2020.
14
                                                    KELLER ROHRBACK L.L.P.
15
                                                    By: s/ Karin B. Swope
16                                                  By: s/ Ian S. Birk
                                                    By: s/ Lynn L. Sarko
17                                                  By: s/ Amy Williams-Derry
18                                                  By: s/ Gretchen Freeman Cappio
                                                    By: s/ Irene M. Hecht
19                                                  By: s/ Maureen Falecki
                                                       Karin B. Swope, WSBA #24015
20                                                     Ian S. Birk, WSBA #31431
                                                       Lynn L. Sarko, WSBA #16569
21                                                     Amy Williams-Derry, WSBA #28711
22                                                     Gretchen Freeman Cappio, WSBA #29576
                                                       Irene M. Hecht, WSBA #11063
23                                                     Maureen Falecki, WSBA #18569
                                                       1201 Third Avenue, Suite 3200
24                                                     Seattle, WA 98101
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26                                                     Email: kswope@kellerrohrback.com
                                                       Email: ibirk@kellerrohrback.com

     STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO                 KELLER ROHRB ACK L.L .P.
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            Case 2:20-cv-00622-BJR Document 23 Filed 09/14/20 Page 3 of 4




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 4                                       By: s/ Alison Chase
                                            Alison Chase, pro hac vice forthcoming
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 8
                                         Attorneys for Plaintiff and the Proposed Classes
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10                                       BULLIVANT HOUSER BAILEY PC

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16                                       Attorneys for Defendant
17

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     STIPULATION AND ORDER EXTENDING TIME TO RESPOND TO      KELLER ROHRB ACK L.L .P.
     MOTION TO DISMISS - 3                                         1201 Third Avenue, Suite 3200
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                Case 2:20-cv-00622-BJR Document 23 Filed 09/14/20 Page 4 of 4




                                      CERTIFICATE OF SERVICE
 1
              I certify that on 14th day of September, 2020, I electronically filed the foregoing with
 2

 3   the Clerk of the Court using the CM/ECF system, which will send notice of such filing to all

 4   known counsel of record.
 5
                                                    By: s/ Karin B. Swope
 6
                                                       Karin B. Swope
 7
     4824-9581-1274, v. 1
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     CERTIFICATE OF SERVICE - 1                                           KELLER ROHRB ACK L.L .P.
     (2:20-CV-00622-RSM)                                                     1201 Third Avenue, Suite 3200
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                                                                             TELEPHONE: (206) 623-1900
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